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                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


IN RE:                                          CASE NO: 20-60251-MMP
LETICIA MARTINEZ

                                                CHAPTER 13


                    DEBTOR


                      TRUSTEE'S MOTION TO DISMISS AND
                     NOTICE OF OPPORTUNITY FOR HEARING

This pleading requests relief that may be adverse to your interests .

If no timely response is filed within 21 days from the date of service, the relief
requested herein may be granted without a hearing being held.

A timely filed response is necessary for a hearing to be held.

If you file a timely response, a hearing will be held on the Motion on the 21st day
of September, 2022 at 9:00 A.M. At Waco Bankruptcy Courtroom No. 1, 800
Franklin Ave, Suite 160, Waco, Tx 76701.


       The Trustee in this case states that the Debtor is in material default in the
amount of $2,754.34 as of August 10, 2022 . Please note that the default figure noted
above may include the current month's plan payment. This case has not been
previously converted from another Chapter of Title 11.


        A copy of the Trustee's report dated August 10, 2022 is attached (report will not
be attached if no payments have been received.) This report discloses that the Debtor
is in material default on the payments all without demonstrated justification . Wherefore,
the Trustee moves that the subject case be dismissed and for such other and further
relief to which he may be entitled.


Dated: August 10, 2022                               Respectfully Submitted

                                                     /s/Ray Hendren
                                                     Ray Hendren, Chapter 13 Trustee
                                                     4505 Spicewood Springs Rd
                                                     Suite 205
                                                     Austin, Tx 78759
                                                     Main: (512)474-6309
                                                     Fax: (512)482-8424
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                    UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF TEXAS
                             WACO DIVISION
IN RE: CHAPTER 13

LETICIA MARTINEZ

DEBTOR(S)                                             CASE NO.: 20-60251




05/28/2020                         000019027967181                    $400.00
07/07/2020                         000000000021860                    $485.00
08/18/2020                         000000000021878                    $272.50
09/15/2020                         000000000021889                    $503.08
10/14/2020                         000000000021903                    $503.08
11/17/2020                         000000000021918                    $754.62
12/15/2020                         000000000021928                    $503.08
01/20/2021                         000000000021998                    $503.08
02/23/2021                         000000000022014                    $503.08
03/16/2021                         000000000022030                    $503.08
05/10/2021                         000000000022047                    $503.08
05/10/2021                         000000000022046                    $503.08
05/18/2021                         000000000022052                    $251.54
06/01/2021                         000000000022054                    $251.54
06/21/2021                         000000000022058                    $251.54
06/29/2021                         000000000022059                    $251.54
08/16/2021                         000000000022062                    $251.54
08/16/2021                         000000000022061                    $251.54
08/16/2021                         000000000022063                    $251.54
09/08/2021                         000000000003186                    $251.54
09/08/2021                         000000000003185                    $251.54
10/05/2021                         000000000003187                    $251.54
10/05/2021                         000000000003188                    $251.54
11/15/2021                         000000000003189                    $251.54
11/15/2021                         000000000003190                    $251.54
11/15/2021                         000000000003192                    $251.54
12/14/2021                         000000000003193                    $482.31
12/14/2021                         000000000003194                    $482.31
12/21/2021                         000000000003196                    $482.31
01/18/2022                         000000000003198                    $482.31
01/19/2022                         000000000003199                    $482.31
02/18/2022                         000000000003200                    $482.31
02/18/2022                         000000000003202                    $482.31
03/21/2022                         000000000003204                    $482.31
03/29/2022                         000000000003205                    $964.62
05/03/2022                         000000000003207                    $482.31
05/03/2022                         000000000003206                    $482.31
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05/16/2022                         000000000003208                    $482.31
06/01/2022                         000000000003209                    $482.31
                                                                   $16,210.66
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                                 CERTIFICATE OF SERVICE


  I hereby certify that a true and correct copy of the foregoing document was sent to all
parties listed on the matrix on file with the U.S. Bankruptcy Clerk's Office on or about the time
this document was electronically filed with the Clerk on August 10, 2022. A copy of the
Certificate of Mailing of this document is on file and may be viewed at the U .S. Bankruptcy
Clerk's Office.



/s/Ray Hendren
Ray Hendren, Chapter 13 Trustee
August 10, 2022
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                           UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION
IN RE:
                                                                         CHAPTER 13
LETICIA MARTINEZ

                                                          CASE NO. 20-60251-MMP
DEBTOR(S)

                             ORDER DISMISSING CASE

     On this day came on to be considered the Trustee's Motion to
Dismiss, and it appearing to the Court that due notice has been
given to the parties in interest; that the Debtor is in material
default   of  the    plan,  it  is   therefore   ORDERED  that   the
above-referenced case be and hereby in all things DISMISSED PURSUANT
TO 11 U.S.C. § 1307.

     It is FURTHER ORDERED that the Trustee be discharged and
relieved of his trust and of his sureties, and that the remaining
balances of all debts due and owing creditors as of the date of this
dismissal are not discharged or affected in any manner by this
order.
                                 ###

   Prepared and Submitted by
   G. Ray Hendren, Chapter 13 Trustee
   4505 Spicewood Springs Rd
   Suite 205
   Austin, TX 78759
   (512) 474-6309
